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                               UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                              CASE NO.:


  SYBEL W. LEE, 602 N.W 100TH
  STREET MIAMI, FL 33150

  MARY MCMINN, 601 NW 99TH
  STREET MIAMI, FL 33150

  NATHANIEL WILLIAMS, 600 N.W.
  116TH STREET MIAMI, FL 33150
  Plaintiff(s)

  v.

  MIAMI-DADE COUNTY

  STATE OF FLORIDA DEPARTMENT
  OF TRANSPORTATION,
  Defendant(s).
  ______________________________/
                                            COMPLAINT
          COME NOW the Plaintiffs, SYBEL W. LEE, MARY MCMINN, and NATHANIEL
  WILLIAMS, by and through undersigned counsel, and sue the Defendants, MIAMI-DADE
  COUNTY and the STATE OF FLORIDA DEPARTMENT OF TRANSPORTATION, and
  as grounds therefore would state:

  1.      This is an action for inverse condemnation (Federal), inverse condemnation (State),

  breach of contract, tortious interference with an advantageous business relationship, and

  violation of the Federal-Aid Highway Act for damages in excess of $75,000, exclusive of

  interest, attorneys’ fees and costs.

  2.      This court has jurisdiction over the parties and this action pursuant to U.S. Const. Article

  3, Section 2, U.S. Const. 5th and 14th Amendment, 18 U.S. Code §1964, 23 U.S.C.A. § 101 et

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  seq., 28 U.S. Code §1331 and 1332, 31 U.S. Code §3729, 42 U.S. Code §§1981, 1983 and 1991.

  3.     Defendants were noticed pursuant to Fla. Stat. § 768.28 before filing this action on or

  about January 12, 2017 (see Exhibit “1”).

  4.     Plaintiffs demand a jury for all counts.

                      COUNT 1 – INVERSE CONDEMNATION – FEDERAL

  5.     The Plaintiffs are, senior citizens, and owners of property in Miami-Dade County as

  follows: Ms. Sybel W. Lee, residing at 602 NW 100 th Street, Miami, FL 33150; Ms. Mary

  McMinn residing at 601 NW 99 th Street, Miami, FL 33150; and Mr. Nathaniel Williams

  residing at 600 NW 116 th Street, Miami, FL 33150 all now within arm’s reach of the I-95

  Noise reduction wall. Ms. McMinn has lived in this home since before the I-95 was even

  constructed, and this highway has expanded to these property owner’s back wall.

  6.     The State of Florida, Department of Transportation (‘FDOT”) built a Noise Reduction

  Wall within arm’s reach of the Plaintiffs’ homes. (See Exhibit 2; County Photos for Relocation

  Estimates)

  7.     Because of the State of Florida’s construction Plaintiffs can’t flush paper in their toilets,

  their roofs are collapsing, vibration has destroyed the structure, 18-wheelers have landed in their

  yards in the middle of the night and Miami-Dade County (the “County”) refuses to do

  improvements (i.e. County won’t put in sewer because it is aware vibration would destroy it),

  and the value of the homes have deteriorated to unsaleable values.

  8.     The State of Florida (the “State”) proposed condemnation of the Plaintiffs’ homes, the

  Plaintiffs’ agreed, but the State never followed through with the purchasing of new homes and

  relocation of Plaintiffs. (See Exhibit 3; Right of Way Evaluation).

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  9.     The State of Florida earmarked $1.2 Million to relocate the Plaintiffs but was convinced

  by Miami-Dade County to do the distribution as part of building a Linear Park in the location of

  the Plaintiffs’ homes through Miami Dade MPO and Parks Department. (See Exhibit 4;

  Confirmation of Allocation).

  10.    In Miami Dade MPO hearings in 2007 and 2012, both with FDOT in participation, the

  Miami Dade Commission and MPO confirmed receipt of the $1.2 Million to relocate Plaintiffs’

  but did not perform. FDOT confirmed allocation to Miami-Dade MPO.

  11.    During the July 19, 2012 at a Miami-Dade Metropolitan Planning Organization Board

  meeting Mr. Zevin Auerbach a Member Municipal Representative advised the Plaintiffs that this

  matter “smell like corruption” because monies were promised by Miami-Dade County Board of

  Commissioners, the Miami-Dade County Clerk of the Board of Commissioners, the Metropolitan

  Planning Organization (“MPO”) and then the funds disappeared.

  12.    Miami-Dade County Dist. 3 Commissioners and MPO Board Member a Ms. Audrey

  Edmonson at a July 19, 2012 Metropolitan Planning Organization meeting read and

  introduced a letter written by Ms. Vivian Donnell Rodriguez who was the Director of the

  Miami-Dade Parks and Recreational Department to the governing body. Ms. Edmonson read

  item #5A3 as reported into the video tape record that pertained to project #416-510-1 written

  on September 25, 2006 as evidence of the misappropriation of county funds by the Parks

  and Recreational Department and other agencies earmarked by Florida Department of

  Transportation and the Federal Highway Administration (“FHWA”).

  13.    A July 19, 2012, MPO Meeting video tape shows Miami-Dade County

  Commissioner Audrey Edmonson reading a letter from a Ms. Vivian Donnell Rodriguez,

  where it said "Dear Ms. McGuire who is over the District Six Planning Office for the
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  Florida Department of Transportation. Ms. Vivian Donnell Rodriguez wrote to Ms.

  McGuire that the purpose of this letter is to withdraw the Miami- Dade Parks and

  Recreations Department grant application for the 1-95 Linear Park. The objective of the

  project was for the department to purchase seven properties adjacent to 1-95 between NW

  97th and 100th Street excluding the agreement to also originally included 116 th Street as part

  of the homes being purchased and the county would be demolishing the structures on the

  site.

  14.     The properties were later to be developed into a 1 ½ acre linear park in a residential

  neighborhood in unincorporated Miami-Dade County, Ms. Rodriguez wrote that these

  properties are no longer for sale." Miami-Dade County Commissioner Audrey Edmonson

  put on the record that there was a promise and there were funds approved and granted by

  FDOT and Miami-Dade County to purchase the Plaintiff's homes." See Miami-Dade

  County/MPO Meeting Video Tape dated July 19, 2012 on 5A3 reported at 50:08 minutes.

  (See Exhibit 5; Rodriquez Withdrawal letter).

  15.     Miami-Dade County Commissioner Audrey Edmonson said at the 7/19/2012 MPO

  Board meeting that "she could not explain in the video why Ms. Vivian Donnell Rodriguez

  said in her letter that the homes were no longer for sale, since the county initially promised

  to purchase the Plaintiff's homes because of the safety factors of the 1-95 Noise Abatement

  Wall expansion project and Linear park."

  16.     In 2015, Plaintiffs’ Commissioner Audrey Edmunson proposed relocating the Plaintiffs’

  to rectify the non-distribution, but only at current, nominal value of the homes. By this time the

  homes were valueless, and the senior citizens would not be able to afford adequate housing.


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  17.      To complete the cycle of government failing its senior citizens, in 2016 the Plaintiffs

  made complaints to the FBI, who transferred the matter to Miami-Dade Office of Inspector

  General (“OIG”), who then dropped the matter without notifying Plaintiffs because OIG was told

  relied on Vivian Rodriguez letter that the Plaintiffs no longer wanted to relocate.

  18.      Unable to afford representation, Plaintiffs filed a pro se case in the United State Southern

  District (Case No. 16-23651) but were unable to figure out to serve the Defendants under Fla.

  Stat. § 768.28 and generally; so, the matter was dismissed by the Honorable Judge Goodman on

  3/29/2017 for PAPERLESS ORDER DISMISSING CASE WITHOUT PREJUDICE FOR

  FAILURE TO SERVE. (see Exhibit 6; Docket Print Out).

  19.      The location of the home next to the 1-95 deprive the Plaintiffs of all beneficial use of the

  properties and has removed all value of the properties.

  20.      Funds were confirmed distributed to Miami Dade County to relocate the Plaintiffs in Mr.

  Oscar Brannon in a meeting with Plaintiffs Carey-Schuler’s office, at the time Brannon the

  assistant to Commission Dr. Barbara Carey-Schuler.

  21.      This arrangement was never fulfilled, and these said senior citizens homeowners

  have been placed in very dangerous, hazardous and unsafe living conditions.

  22.      Defendants installation of Noise Reduction Wall and I-95 expansion is a government

  taking subject to inverse condemnation claims.

        WHEREFORE, the Plaintiffs request this Court to declare the State and County’s

        actions as a taking under the Fifth Amendment to the Constitution, determine the value

        of the taking, and to grant Plaintiffs claims for inverse condemnation. Further, Plain tiffs

        seek punitive damages as well as their costs and attorney fees.

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                     COUNT 2 – INVERSE CONDEMNATION – STATE

  23.    The Plaintiffs are, senior citizens, and owners of property in Miami-Dade County as

  follows: Ms. Sybel W. Lee, residing at 602 NW 100 th Street, Miami, FL 33150; Ms. Mary

  McMinn residing at 601 NW 99 th Street, Miami, FL 33150; and Mr. Nathaniel Williams

  residing at 600 NW 116 th Street, Miami, FL 33150 all now within arm’s reach of the I-95

  Noise reduction wall. Ms. McMinn has lived in this home since before the I-95 was even

  constructed, and this highway has expanded to these property owner’s back wall.

  24.    The State of Florida, Department of Transportation built a Noise Reduction Wall within

  arm’s reach of the Plaintiffs’ homes. (See Exhibit 2; County Photos for Relocation Estimates)

  25.    Because of the State of Florida’s construction Plaintiffs can’t flush paper in their toilets,

  their roofs are collapsing, vibration has destroyed the structure, 18-wheelers have landed in their

  yards in the middle of the night and Miami-Dade County (the “County”) refuses to do

  improvements (i.e. County won’t put in sewer because it is aware vibration would destroy it),

  and the value of the homes have deteriorated to unsaleable values.

  26.    The State of Florida (the “State”) proposed condemnation of the Plaintiffs’ homes, the

  Plaintiffs’ agreed, but the State never followed through with the purchasing of new homes and

  relocation of Plaintiffs. (See Exhibit 3; Right of Way Evaluation).

  27.    The State of Florida earmarked $1.2 Million to relocate the Plaintiffs but was convinced

  by Miami-Dade County to do the distribution as part of building a Linear Park in the location of

  the Plaintiffs’ homes through Miami Dade MPO and Parks Department. (See Exhibit 4;

  Confirmation of Allocation).

  28.    In Miami Dade MPO hearings in 2007 and 2012, both with FDOT in participation, the

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  Miami Dade Commission and MPO confirmed receipt of the $1.2 Million to relocate Plaintiffs’

  but did not perform. FDOT confirmed allocation to Miami-Dade MPO.

  29.    During the July 19, 2012 at a Miami-Dade Metropolitan Planning Organization Board

  meeting Mr. Zevin Auerbach a Member Municipal Representative advised the Plaintiffs that this

  matter “smell like corruption” because monies were promised by Miami-Dade County Board of

  Commissioners, the Miami-Dade County Clerk of the Board of Commissioners, the Metropolitan

  Planning Organization (“MPO”) and then the funds disappeared.

  30.    Miami-Dade County Dist. 3 Commissioners and MPO Board Member a Ms. Audrey

  Edmonson at a July 19, 2012 Metropolitan Planning Organization meeting read and

  introduced a letter written by Ms. Vivian Donnell Rodriguez who was the Director of the

  Miami-Dade Parks and Recreational Department to the governing body. Ms. Edmonson read

  item #5A3 as reported into the video tape record that pertained to project #416-510-1 written

  on September 25, 2006 as evidence of the misappropriation of county funds by the Parks

  and Recreational Department and other agencies earmarked by Florida Department of

  Transportation and the Federal Highway Administration (FHWA).

  31.    A July 19, 2012, MPO Meeting video tape shows Miami-Dade County

  Commissioner Audrey Edmonson reading a letter from a Ms. Vivian Donnell Rodriguez,

  where it said "Dear Ms. McGuire who is over the District Six Planning O ffice for the

  Florida Department of Transportation. Ms. Vivian Donnell Rodriguez wrote to Ms.

  McGuire that the purpose of this letter is to withdraw the Miami- Dade Parks and

  Recreations Department grant application for the 1-95 Linear Park. The objective of the

  project was for the department to purchase seven properties adjacent to 1-95 between NW

  97th and 100th Street excluding the agreement to also originally included 116 th Street as part

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  of the homes being purchased and the county would be demolishing the structures on the

  site.

  32.     The properties were later to be developed into a 1 ½ acre linear park in a residential

  neighborhood in unincorporated Miami-Dade County, Ms. Rodriguez wrote that these

  properties are no longer for sale." Miami-Dade County Commissioner Audrey Edmonson

  put on the record that there was a promise and there were funds approved and granted by

  FDOT and Miami-Dade County to purchase the Plaintiff's homes." See Miami-Dade

  County/MPO Meeting Video Tape dated July 19, 2012 on 5A3 reported at 50:08 minutes.

  (See Exhibit 5; Rodriquez Withdrawal letter).

  33.     Miami-Dade County Commissioner Audrey Edmonson said at the 7/19/2012 MPO

  Board meeting that "she could not explain in the video why Ms. Vivian Donnell Rodriguez

  said in her letter that the homes were no longer for sale, since the county initially promised

  to purchase the Plaintiff's homes because of the safety factors of the 1-95 Noise Abatement

  Wall expansion project and Linear park."

  34.     In 2015, Plaintiffs’ Commissioner Audrey Edmunson proposed relocating the Plaintiffs’

  to rectify the non-distribution, but only at current, nominal value of the homes. By this time the

  homes were valueless, and the senior citizens would not be able to afford adequate housing.

  35.     To complete the cycle of government failing its senior citizens, in 2016 the Plaintiffs

  made complaints to the FBI, who transferred the matter to Miami-Dade Office of Inspector

  General (“OIG”), who then dropped the matter without notifying Plaintiffs because OIG was told

  relied on Vivian Rodriguez letter that the Plaintiffs no longer wanted to relocate.

  36.     Unable to afford representation, Plaintiffs filed a pro se case in the United State Southern


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  District (Case No. 16-23651) but were unable to figure out to serve the Defendants under Fla.

  Stat. § 768.28 and generally; so, the matter was dismissed by the Honorable Judge Goodman on

  3/29/2017 for PAPERLESS ORDER DISMISSING CASE WITHOUT PREJUDICE FOR

  FAILURE TO SERVE. (see Exhibit 6; Docket Print Out).

  37.    The location of the home next to the 1-95 deprive the Plaintiffs of all beneficial use of the

  properties and has removed all value of the properties.

  38.    Funds were confirmed distributed to Miami Dade County to relocate the Plaintiffs in Mr.

  Oscar Brannon in a meeting with Plaintiffs Carey-Schuler’s office, at the time Brannon the

  assistant to Commission Dr. Barbara Carey-Schuler.

  39.    This arrangement was never fulfilled, and these said senior citizens homeowners

  have been placed in very dangerous, hazardous and unsafe living conditions.

  40.    Defendants installation of Noise Reduction Wall and I-95 expansion is a government

  taking subject to inverse condemnation claims.

         WHEREFORE, the Plaintiffs request this Court to declare the State and County’s

  actions as a taking under the Florida Constitution, determine the value of the taking, and to

  grant Plaintiffs claims for inverse condemnation. Further, Plaintiffs seek punitive damages

  as well as their costs and attorney fees.

                               COUNT 3 – BREACH OF CONTRACT

  41.    The Plaintiffs are, senior citizens, and owners of property in Miami-Dade County as

  follows: Ms. Sybel W. Lee, residing at 602 NW 100 th Street, Miami, FL 33150; Ms. Mary

  McMinn residing at 601 NW 99 th Street, Miami, FL 33150; and Mr. Nathaniel Williams

  residing at 600 NW 116 th Street, Miami, FL 33150 all now within arm’s reach of the I-95

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  Noise reduction wall. Ms. McMinn has lived in this home since before the I-95 was even

  constructed, and this highway has expanded to these property owner’s back wall.

  42.    The State of Florida, Department of Transportation built a Noise Reduction Wall within

  arm’s reach of the Plaintiffs’ homes. (See Exhibit 2; County Photos for Relocation Estimates)

  43.    Because of the State of Florida’s construction Plaintiffs can’t flush paper in their toilets,

  their roofs are collapsing, vibration has destroyed the structure, 18-wheelers have landed in their

  yards in the middle of the night and Miami-Dade County (the “County”) refuses to do

  improvements (i.e. County won’t put in sewer because it is aware vibration would destroy it),

  and the value of the homes have deteriorated to unsaleable values.

  44.    The State of Florida (the “State”) proposed condemnation of the Plaintiffs’ homes, the

  Plaintiffs’ agreed, but the State never followed through with the purchasing of new homes and

  relocation of Plaintiffs. (See Exhibit 3; Right of Way Evaluation).

  45.    The State of Florida earmarked $1.2 Million to relocate the Plaintiffs but was convinced

  by Miami-Dade County to do the distribution as part of building a Linear Park in the location of

  the Plaintiffs’ homes through Miami Dade MPO and Parks Department. (See Exhibit 4;

  Confirmation of Allocation).

  46.    In Miami Dade MPO hearings in 2007 and 2012, both with FDOT in participation, the

  Miami Dade Commission and MPO confirmed receipt of the $1.2 Million to relocate Plaintiffs’

  but did not perform. FDOT confirmed allocation to Miami-Dade MPO.

  47.    During the July 19, 2012 at a Miami-Dade Metropolitan Planning Organization Board

  meeting Mr. Zevin Auerbach a Member Municipal Representative advised the Plaintiffs that this

  matter “smell like corruption” because monies were promised by Miami-Dade County Board of

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  Commissioners, the Miami-Dade County Clerk of the Board of Commissioners, the Metropolitan

  Planning Organization (“MPO”) and then the funds disappeared.

  48.     Miami-Dade County Dist. 3 Commissioners and MPO Board Member a Ms. Audrey

  Edmonson at a July 19, 2012 Metropolitan Planning Organization meeting read and

  introduced a letter written by Ms. Vivian Donnell Rodriguez who was the Director of the

  Miami-Dade Parks and Recreational Department to the governing body. Ms. Edmonson read

  item #5A3 as reported into the video tape record that pertained to project #416-510-1 written

  on September 25, 2006 as evidence of the misappropriation of county funds by the Parks

  and Recreational Department and other agencies earmarked by Florida Department of

  Transportation and the Federal Highway Administration (“FHWA”).

  49.     A July 19, 2012, MPO Meeting video tape shows Miami-Dade County

  Commissioner Audrey Edmonson reading a letter from a Ms. Vivian Donnell Rodriguez,

  where it said "Dear Ms. McGuire who is over the District Six Planning Office for the

  Florida Department of Transportation, (“FDOT”). Ms. Vivian Donnell Rodriguez wrote to

  Ms. McGuire that the purpose of this letter is to withdraw the Miami- Dade Parks and

  Recreations Department grant application for the 1-95 Linear Park. The objective of the

  project was for the department to purchase seven properties adjacent to 1-95 between NW

  97th and 100th Street excluding the agreement to also originally included 116 th Street as part

  of the homes being purchased and the county would be demolishing the structures on the

  site.

  50.     The properties were later to be developed into a 1 ½ acre linear park in a residential

  neighborhood in unincorporated Miami-Dade County, Ms. Rodriguez wrote that these

  properties are no longer for sale." Miami-Dade County Commissioner Audrey Edmonson

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  put on the record that there was a promise and there were funds approved and granted by

  FDOT and Miami-Dade County to purchase the Plaintiff's homes." See Miami-Dade

  County/MPO Meeting Video Tape dated July 19, 2012 on 5A3 reported at 50:08 minutes.

  (See Exhibit 5; Rodriquez Withdrawal letter).

  51.    Miami-Dade County Commissioner Audrey Edmonson said at the 7/19/2012 MPO

  Board meeting that "she could not explain in the video why Ms. Vivian Donnell Rodriguez

  said in her letter that the homes were no longer for sale, since the county initially promised

  to purchase the Plaintiff's homes because of the safety factors of the 1-95 Noise Abatement

  Wall expansion project and Linear park."

  52.    In 2015, Plaintiffs’ Commissioner Audrey Edmunson proposed relocating the Plaintiffs’

  to rectify the non-distribution, but only at current, nominal value of the homes. By this time the

  homes were valueless, and the senior citizens would not be able to afford adequate housing.

  53.    To complete the cycle of government failing its senior citizens, in 2016 the Plaintiffs

  made complaints to the FBI, who transferred the matter to Miami-Dade Office of Inspector (“

  General (“OIG”), who then dropped the matter without notifying Plaintiffs because OIG was told

  relied on Vivian Rodriguez letter that the Plaintiffs no longer wanted to relocate.

  54.    Unable to afford representation, Plaintiffs filed a pro se case in the United State Southern

  District (Case No. 16-23651), but were unable to figure out to serve the Defendants under Fla.

  Stat. § 768.28 and generally; so the matter was dismissed by the Honorable Judge Goodman on

  3/29/2017 for PAPERLESS ORDER DISMISSING CASE WITHOUT PREJUDICE FOR

  FAILURE TO SERVE. (see Exhibit 6; Docket Print Out).

  55.    The location of the home next to the 1-95 deprive the Plaintiffs of all beneficial use of the


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  properties and has removed all value of the properties.

  56.      Funds were confirmed distributed to Miami Dade County to relocate the Plaintiffs in Mr.

  Oscar Brannon in a meeting with Plaintiffs Carey-Schuler’s office, at the time Brannon the

  assistant to Commission Dr. Barbara Carey-Schuler.

  57.      This arrangement was never fulfilled, and these said senior citizens homeowners

  have been placed in very dangerous, hazardous and unsafe living conditions.

  58.      The Defendants have breached the contract to build the wall, expand the I-95 and

  relocated the Plaintiffs during the process.

  59.      The Plaintiffs have been and continued to be damaged by the Defendants willful and on

  going breach.

               WHEREFORE, the Plaintiffs seek $1.2 Million in damages plus interest under the

        original relationship with FDOT as well as the purchasing of new homes (with mortgages)

        and relocation expenses. Further, Plaintiffs seek punitive damages as well as their costs

        and attorney fees.

         COUNT 4 – TORTIOUS INTERFERENCE WITH ADVANTAGEOUS BUSINESS

                                            RELATIONSHIP

  60.      The Plaintiffs are, senior citizens, and owners of property in Miami-Dade County as

  follows: Ms. Sybel W. Lee, residing at 602 NW 100 th Street, Miami, FL 33150; Ms. Mary

  McMinn residing at 601 NW 99 th Street, Miami, FL 33150; and Mr. Nathaniel Williams

  residing at 600 NW 116 th Street, Miami, FL 33150 all now within arm’s reach of the I-95

  Noise reduction wall. Ms. McMinn has lived in this home since before the I-95 was even

  constructed, and this highway has expanded to these property owner’s back wall.

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  61.    The State of Florida, Department of Transportation built a Noise Reduction Wall within

  arm’s reach of the Plaintiffs’ homes. (See Exhibit 2; County Photos for Relocation Estimates)

  62.    Because of the State of Florida’s construction Plaintiffs can’t flush paper in their toilets,

  their roofs are collapsing, vibration has destroyed the structure, 18-wheelers have landed in their

  yards in the middle of the night and Miami-Dade County (the “County”) refuses to do

  improvements (i.e. County won’t put in sewer because it is aware vibration would destroy it),

  and the value of the homes have deteriorated to unsaleable values.

  63.    The State of Florida (the “State”) proposed condemnation of the Plaintiffs’ homes, the

  Plaintiffs’ agreed, but the State never followed through with the purchasing of new homes and

  relocation of Plaintiffs. (See Exhibit 3; Right of Way Evaluation).

  64.    The State of Florida earmarked $1.2 Million to relocate the Plaintiffs but was convinced

  by Miami-Dade County to do the distribution as part of building a Linear Park in the location of

  the Plaintiffs’ homes through Miami Dade MPO and Parks Department. (See Exhibit 4;

  Confirmation of Allocation).

  65.    In Miami Dade MPO hearings in 2007 and 2012, both with FDOT in participation, the

  Miami Dade Commission and MPO confirmed receipt of the $1.2 Million to relocate Plaintiffs’

  but did not perform. FDOT confirmed allocation to Miami-Dade MPO.

  66.    During the July 19, 2012 at a Miami-Dade Metropolitan Planning Organization Board

  meeting Mr. Zevin Auerbach a Member Municipal Representative advised the Plaintiffs that this

  matter “smell like corruption” because monies were promised by Miami-Dade County Board of

  Commissioners, the Miami-Dade County Clerk of the Board of Commissioners, the Metropolitan

  Planning Organization (“MPO”) and then the funds disappeared.


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  67.     Miami-Dade County Dist. 3 Commissioners and MPO Board Member a Ms. Audrey

  Edmonson at a July 19, 2012 Metropolitan Planning Organization meeting read and

  introduced a letter written by Ms. Vivian Donnell Rodriguez who was the Director of the

  Miami-Dade Parks and Recreational Department to the governing body. Ms. Edmonson read

  item #5A3 as reported into the video tape record that pertained to project #416-510-1 written

  on September 25, 2006 as evidence of the misappropriation of county funds by the Parks

  and Recreational Department and other agencies earmarked by Florida Department of

  Transportation and the Federal Highway Administration (“FHWA”).

  68.     A July 19, 2012, MPO Meeting video tape shows Miami-Dade County

  Commissioner Audrey Edmonson reading a letter from a Ms. Vivian Donnell Rodriguez,

  where it said "Dear Ms. McGuire who is over the District Six Planning Office for the

  Florida Department of Transportation. Ms. Vivian Donnell Rodriguez wrote to Ms.

  McGuire that the purpose of this letter is to withdraw the Miami- Dade Parks and

  Recreations Department grant application for the 1-95 Linear Park. The objective of the

  project was for the department to purchase seven properties adjacent to 1-95 between NW

  97th and 100th Street excluding the agreement to also originally included 116 th Street as part

  of the homes being purchased and the county would be demolishing the structures on the

  site.

  69.     The properties were later to be developed into a 1 ½ acre linear park in a residential

  neighborhood in unincorporated Miami-Dade County, Ms. Rodriguez wrote that these

  properties are no longer for sale." Miami-Dade County Commissioner Audrey Edmonson

  put on the record that there was a promise and there were funds approved and granted by

  FDOT and Miami-Dade County to purchase the Plaintiff's homes." See Miami-Dade

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  County/MPO Meeting Video Tape dated July 19, 2012 on 5A3 reported at 50:08 minutes.

  (See Exhibit 5; Rodriquez Withdrawal letter).

  70.    Miami-Dade County Commissioner Audrey Edmonson said at the 7/19/2012 MPO

  Board meeting that "she could not explain in the video why Ms. Vivian Donnell Rodriguez

  said in her letter that the homes were no longer for sale, since the county initially promised

  to purchase the Plaintiff's homes because of the safety factors of the 1-95 Noise Abatement

  Wall expansion project and Linear park."

  71.    In 2015, Plaintiffs’ Commissioner Audrey Edmunson proposed relocating the Plaintiffs’

  to rectify the non-distribution, but only at current, nominal value of the homes. By this time the

  homes were valueless, and the senior citizens would not be able to afford adequate housing.

  72.    To complete the cycle of government failing its senior citizens, in 2016 the Plaintiffs

  made complaints to the FBI, who transferred the matter to Miami-Dade Office of Inspector

  General (“OIG”), who then dropped the matter without notifying Plaintiffs because OIG was told

  relied on Vivian Rodriguez letter that the Plaintiffs no longer wanted to relocate.

  73.    Unable to afford representation, Plaintiffs filed a pro se case in the United State Southern

  District (Case No. 16-23651), but were unable to figure out to serve the Defendants under Fla.

  Stat. § 768.28 and generally; so the matter was dismissed by the Honorable Judge Goodman on

  3/29/2017 for PAPERLESS ORDER DISMISSING CASE WITHOUT PREJUDICE FOR

  FAILURE TO SERVE. (see Exhibit 6; Docket Print Out).

  74.    The location of the home next to the 1-95 deprive the Plaintiffs of all beneficial use of the

  properties and has removed all value of the properties.

  75.    Funds were confirmed distributed to Miami Dade County to relocate the Plaintiffs in Mr.

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  Oscar Brannon in a meeting with Plaintiffs Carey-Schuler’s office, at the time Brannon the

  assistant to Commission Dr. Barbara Carey-Schuler.

  76.      This arrangement was never fulfilled, and these said senior citizens homeowners

  have been placed in very dangerous, hazardous and unsafe living conditions.

  77.      The Plaintiffs worked out a business relationship with the FDOT to relocate them

  while having the condemnation go through Miami-Dade County.

  78.      FDOT distributed the monies to Miami-Dade County who failed to relocate the

  Plaintiffs with the funds.

  79.      Miami-Dade County failed with knowledge that the funds from FDOT were to be

  used to relocate the Plaintiffs.

  80.      The County’s interference was intentional and unjustified, even for its own

  advantage.

  81.      The Plaintiffs have been and continued to be damaged by the Defendants willful and

  ongoing interference.

               WHEREFORE, the Plaintiffs seek $1.2 Million in damages plus interest under the

        original relationship with FDOT as well as the purchasing of new homes (with mortgages)

        and relocation expenses. Further, Plaintiffs seek punitive damages as well as their costs

        and attorney fees.

        COUNT 5– VIOLATION OF THE FEDERAL-AID HIGHWAY ACT 23 U.S.C.A §101

                                                  et seq.

  82.      The Plaintiffs are, senior citizens, and owners of property in Miami-Dade County as

  follows: Ms. Sybel W. Lee, residing at 602 NW 100 th Street, Miami, FL 33150; Ms. Mary
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  McMinn residing at 601 NW 99 th Street, Miami, FL 33150; and Mr. Nathaniel Williams

  residing at 600 NW 116 th Street, Miami, FL 33150 all now within arm’s reach of the I-95

  Noise reduction wall. Ms. McMinn has lived in this home since before the I-95 was even

  constructed, and this highway has expanded to these property owner’s back wall.

  83.    The State of Florida, Department of Transportation built a Noise Reduction Wall within

  arm’s reach of the Plaintiffs’ homes. (See Exhibit 2; County Photos for Relocation Estimates)

  84.    Because of the State of Florida’s construction Plaintiffs can’t flush paper in their toilets,

  their roofs are collapsing, vibration has destroyed the structure, 18-wheelers have landed in their

  yards in the middle of the night and Miami-Dade County (the “County”) refuses to do

  improvements (i.e. County won’t put in sewer because it is aware vibration would destroy it),

  and the value of the homes have deteriorated to unsaleable values.

  85.    The State of Florida (the “State”) proposed condemnation of the Plaintiffs’ homes, the

  Plaintiffs’ agreed, but the State never followed through with the purchasing of new homes and

  relocation of Plaintiffs. (See Exhibit 3; Right of Way Evaluation).

  86.    The State of Florida earmarked $1.2 Million to relocate the Plaintiffs but was convinced

  by Miami-Dade County to do the distribution as part of building a Linear Park in the location of

  the Plaintiffs’ homes through Miami Dade MPO and Parks Department. (See Exhibit 4;

  Confirmation of Allocation).

  87.    In Miami Dade MPO hearings in 2007 and 2012, both with FDOT in participation, the

  Miami Dade Commission and MPO confirmed receipt of the $1.2 Million to relocate Plaintiffs’

  but did not perform. FDOT confirmed allocation to Miami-Dade MPO.

  88.    During the July 19, 2012 at a Miami-Dade Metropolitan Planning Organization Board

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  meeting Mr. Zevin Auerbach a Member Municipal Representative advised the Plaintiffs that this

  matter “smell like corruption” because monies were promised by Miami-Dade County Board of

  Commissioners, the Miami-Dade County Clerk of the Board of Commissioners, the Metropolitan

  Planning Organization (“MPO”) and then the funds disappeared.

  89.     Miami-Dade County Dist. 3 Commissioners and MPO Board Member a Ms. Audrey

  Edmonson at a July 19, 2012 Metropolitan Planning Organization meeting read and

  introduced a letter written by Ms. Vivian Donnell Rodriguez who w as the Director of the

  Miami-Dade Parks and Recreational Department to the governing body. Ms. Edmonson read

  item #5A3 as reported into the video tape record that pertained to project #416-510-1 written

  on September 25, 2006 as evidence of the misappropriation of county funds by the Parks

  and Recreational Department and other agencies earmarked by Florida Department of

  Transportation (FDOT) and the Federal Highway Administration (FHWA).

  90.     A July 19, 2012, MPO Meeting video tape shows Miami-Dade County

  Commissioner Audrey Edmonson reading a letter from a Ms. Vivian Donnell Rodriguez,

  where it said "Dear Ms. McGuire who is over the District Six Planning Office for the

  Florida Department of Transportation. Ms. Vivian Donnell Rodriguez wrote to Ms.

  McGuire that the purpose of this letter is to withdraw the Miami- Dade Parks and

  Recreations Department grant application for the 1-95 Linear Park. The objective of the

  project was for the department to purchase seven properties adjacent to 1-95 between NW

  97th and 100th Street excluding the agreement to also originally included 116 th Street as part

  of the homes being purchased and the county would be demolishing the structures on the

  site.

  91.     The properties were later to be developed into a 1 ½ acre linear park in a residential

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  neighborhood in unincorporated Miami-Dade County, Ms. Rodriguez wrote that these

  properties are no longer for sale." Miami-Dade County Commissioner Audrey Edmonson

  put on the record that there was a promise and there were funds approved a nd granted by

  FOOT and Miami-Dade County to purchase the Plaintiff's homes." See Miami-Dade

  County/MPO Meeting Video Tape dated July 19, 2012 on 5A3 reported at 50:08 minutes.

  (See Exhibit 5; Rodriquez Withdrawal letter).

  92.    Miami-Dade County Commissioner Audrey Edmonson said at the 7/19/2012 MPO

  Board meeting that "she could not explain in the video why Ms. Vivian Donnell Rodriguez

  said in her letter that the homes were no longer for sale, since the county initially promised

  to purchase the Plaintiff's homes because of the safety factors of the 1-95 Noise Abatement

  Wall expansion project and Linear park."

  93.    In 2015, Plaintiffs’ Commissioner Audrey Edmunson proposed relocating the Plaintiffs’

  to rectify the non-distribution, but only at current, nominal value of the homes. By this time the

  homes were valueless, and the senior citizens would not be able to afford adequate housing.

  94.    To complete the cycle of government failing its senior citizens, in 2016 the Plaintiffs

  made complaints to the FBI, who transferred the matter to Miami-Dade Office of Inspector

  General (“OIG”), who then dropped the matter without notifying Plaintiffs because OIG was told

  relied on Vivian Rodriguez letter that the Plaintiffs no longer wanted to relocate.

  95.    Unable to afford representation, Plaintiffs filed a pro se case in the United State Southern

  District (Case No. 16-23651) but were unable to figure out to serve the Defendants under Fla.

  Stat. § 768.28 and generally; so, the matter was dismissed by the Honorable Judge Goodman on

  3/29/2017 for PAPERLESS ORDER DISMISSING CASE WITHOUT PREJUDICE FOR


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  FAILURE TO SERVE. (see Exhibit 6; Docket Print Out).

  96.      The location of the home next to the 1-95 deprive the Plaintiffs of all beneficial use of the

  properties and has removed all value of the properties.

  97.      Funds were confirmed distributed to Miami Dade County to relocate the Plaintiffs in Mr.

  Oscar Brannon in a meeting with Plaintiffs Carey-Schuler’s office, at the time Brannon the

  assistant to Commission Dr. Barbara Carey-Schuler.

  98.      This arrangement was never fulfilled, and these said senior citizens homeowners

  have been placed in very dangerous, hazardous and unsafe living conditions.

  99.      Under 23 U.S.C.A. §108, funds were allocated as part of the Noise Reduction Wall

  and I-95 expansion by the United State government to FDOT to acquire certain properties.

  100.     FDOT distributed the monies to acquire certain properties to Miami-Dade County

  who failed to relocate the Plaintiffs with the funds.

  101.     Miami-Dade County and the State of Florida stay in awareness that funds were not

  allocated to Plaintiffs and Plaintiffs were not relocated in violation of the Federal-Aid

  Highway Act.

  102.     The Defendants’ allocations to parties other than the Plaintiffs is intentional and with

  knowledge.

  103.     The Plaintiffs have been and continued to be damaged by the Defendants willful and

  ongoing failures.

               WHEREFORE, the Plaintiffs seek $1.2 Million in damages plus interest under the

        original relationship with FDOT as well as the purchasing of new homes (with mortgages)

        and relocation expenses. Further, Plaintiffs seek punitive damages as well as their costs
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      and attorney fees.




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